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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 TARA EDWARDS,
                                                     Case No: 18-10735
       Plaintiff,
                                                     Hon. Paul D. Borman
 v.
                                                     Magistrate Judge:
 SCRIPPS MEDIA, INC., d/b/a
                                                     Elizabeth A. Stafford
 WXYZ-TV,

       Defendant.


             STIPULATED ORDER DISMISSING COMPLAINT
                WITH PREJUDICE AND WITHOUT COSTS


      WHEREAS the parties, through their respective counsel, have stipulated and

agreed to dismissal of Plaintiff’s Complaint against Defendant with prejudice, with

each party to bear her or its own attorneys’ fees and costs;

      IT IS HEREBY ORDERED that Plaintiff’s Complaint is dismissed with

prejudice. Each party will bear her or its own fees and costs.

      Entry of this order resolves all pending claims and closes the case.


Dated: January 30, 2020                       s/Paul D. Borman
                                              Paul D. Borman
                                              United States District Judge
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      Stipulated and agreed as to form and content:

  s/ Michael N. Hanna                    s/ Thomas J. Davis
 Michael N. Hanna (P81462)              Elizabeth P. Hardy (P37426)
 Warren D. Astbury (P82416)             Thomas J. Davis (P78626)
 MORGAN & MORGAN, P.A.                  KIENBAUM HARDY
 Attorney for Plaintiff                 VIVIANO PELTON & FORREST,
 2000 Town Center, Suite 1900           P.L.C.
 Southfield, MI 48075                   Attorneys for Defendant
 (313) 251-1399                         280 N. Old Woodward Ave., Suite 400
 mhanna@forthepeople.com                Birmingham, MI 48009
 wastbury@forthepeople.com              (248) 645-0000
                                        ehardy@khvpf.com
 Geoffrey N. Fieger (P30441)            tdavis@khvpf.com
 FIEGER FIEGER KENNEY
  & HARRINGTON, P.C.                    Dated: January 29, 2020
 Attorney for Plaintiff
 19390 W. Ten Mile Road
 Southfield, MI 48075-2463
 (248) 355-5555
 g.fieger@fiegerlaw.com

 Dated: January 21, 2020




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